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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


LONNIE L. GRIFFIN,
                 Petitioner,

       v.                                                      Criminal Case No: 90-80355
                                                               Civil Case No: 05-73343
                                                               Hon. Anna Diggs Taylor
UNITED STATES OF AMERICA,
                  Respondent.
____________________________________/

                          MEMORANDUM OPINION AND ORDER

       Petitioner has filed a motion to modify his term of imprisonment [Doc. #367] pursuant to 18

U.S.C. § 3582 (c)(2). In his petition, he argues that he is entitled to a modification of his term of

imprisonment based on Amendments 490 and 591 to the United States’ Sentencing Commission

Guidelines Manual. For the reasons set forth below, Petitioner’s motion must be DISMISSED.

                                                  I.

       In November 1990, a jury found Petitioner guilty of the following: count one, conspiracy to

possess with the intent to distribute cocaine; counts two through five, possession with the intent to

distribute cocaine all in violation of 21 U.S.C. § 841(a)(1); counts six and eight, felon in possession

of a firearm both in violation of 18 U.S.C. § 922(g); and count seven, structuring a financial

transaction to evade reporting requirements in violation of 31 U.S.C. § 5324(3). This court

sentenced Petitioner to concurrent terms of life in prison on the conspiracy and substantive

possession counts and to two concurrent 120-month terms of imprisonment for the felon in

possession of a firearm counts and the financial structuring count.

       In February 1991, Petitioner filed a timely notice of appeal with the Sixth Circuit Court of

Appeals concerning his conviction and sentence. The appeals court affirmed the district court.
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Between 1992 and 2001, Petitioner filed several motions pursuant to 28 U.S.C. § 2255, seeking to

vacate his sentence. This court denied each of those motions and all were appealed to the Sixth

Circuit Court of Appeals and were ultimately, affirmed. Petitioner also has filed three unsuccessful

§ 2241 petitions in judicial jurisdictions where he has been incarcerated – the U.S. District Court

for the Southern District of Indiana, U.S. District Court for the Central District of California and the

U.S. District Court for the Eastern District of Texas. All were denied.

       Petitioner now seeks to modify the terms of his imprisonment pursuant to 18 U.S.C. § 3582

(c)(2). Specifically, Petitioner asserts that his prison term should be modified based upon

Amendments 490 and 591 to the U.S.S.G. Guidelines, which both have been applied retroactively.

                                                  II.

18 U.S.C. § 3582(c)(2)

       Petitioner seeks relief under various provisions of 18 U.S.C. §3582(c). The statute permits

modification of an imposed term of imprisonment in a limited number of situations. The court may

modify a prisoner’s sentence only as follows: (1) Upon motion of the Director of the Bureau of

Prisons, if it finds that extraordinary and compelling reasons warrant such a reduction or the

defendant is at least 70 years old and has served at least 30 years in prison; or (2) The Court may

modify where there is an imposed term of imprisonment to the extent otherwise expressly permitted

by statute or by Rule 35 of the Federal Rules of Criminal Procedure; and (3) In the case of a

defendant who has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the sentencing commission. See 18 U.S.C. §3582(c). Petitioner’s

motion attempts to invoke relief under 18 U.S.C. §3582(c)(2).

       (a) Amendment 490


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         Griffin argues that his sentence should be modified, pursuant to Amendment 490, because

the Sentencing Commission lowered the initial base offense level of count seven of his indictment

from thirteen to six. Further, Petitioner contends that this court should have utilized Guideline

§2S1.3 when he was sentenced.

         Griffin was found guilty of structuring a transaction to evade reporting requirements in

violation of 31 U.S.C. § 5324(3). He was sentenced pursuant to Sentencing Guideline § 2S1.3

entitled, “Structuring Transactions to Evade Reporting Requirements; Failure to Report Cash or

Monetary Transactions; Failure to File Currency and Monetary Instrument Report; Knowingly

Filing False Reports.” U.S.S.G. § 2S1.3. When Griffin was sentenced, the base level for Guideline

§ 2S1.3 was thirteen. Petitioner correctly argues that the base level is now six.

         When a guideline that a defendant has been sentenced under is amended, that defendant

becomes eligible for, but not automatically entitled to, a reduced sentence. This decision is left to

the discretion of the district court. United States v. Vazquez, 53 F.3d 1216, 1228 (11th Cir. 1995).

A court may reduce a sentence if, and only if, doing so is “consistent with applicable policy

statements issued by the Sentencing Commission.” United States v. Havener, 905 F.2d 3, 7 (1st

Cir.1990) (quoting 18 U.S.C. § 3582(c)(2)). The policy statement applicable in the instant case is

stated in U.S.S.G. § 1B1.10.1 In pertinent part, § 1B1.10 provides:

                  In determining whether, and to what extent, a reduction in the term
                  of imprisonment is warranted for a defendant eligible for
                  consideration under 18 U.S.C. § 3582(c)(2), the court should
                  consider the term of imprisonment that it would have imposed had
                  the amendment(s) to the guidelines listed in subsection (c) been in
                  effect at the time the defendant was sentenced, except that in no event
                  may the reduced term of imprisonment be less than the term of
                  imprisonment the defendant has already served.



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   Also, it is because of § 1B1.10 that Amendment 490 is to be applied retroactively. United States v. Wales, 977 F.2d
1323, 1328 n. 3 (9th Cir.1992).

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       In considering whether, on application of Amendment 490 to Griffin, the court has authority

to consider a downward departure under U.S.S.G. § 2S1.3, the court turns to the commentary

included in U.S.S.G. § 1B1.10, which provides in relevant part:

                 When the original sentence represented a downward departure, a
                 comparable reduction below the amended guideline range may be
                 appropriate; however, in no case shall the term of imprisonment
                 be reduced below time served. Subject to these limitations, the
                 sentencing court has the discretion to determine whether, and to what
                 extent, to reduce a term of imprisonment under this section.
                 (Emphasis added).

This commentary is to be followed, unless it is inconsistent with or a plainly erroneous reading of

the guidelines or it violates the Constitution or a federal statute. Stinson v. United States, 508 U.S.

36, 38 (1993).

       Griffin’s arguments must fail for several reasons. First, contrary to his arguments, the court

utilized Guideline § 2S1.3 when it sentenced him. Hence, this argument is without merit. Second,

as the government correctly asserts, Petitioner has already served his sentence on Count Seven.

Indeed, the commentary to U.S.S.G. § 1B1.10 clearly states “in no case shall the term of

imprisonment be reduced below time served.” On February 21, 1991, Petitioner was sentenced to

120 months on Count Seven. He completed serving this sentence in February 2001. Finally, the

court is convinced now, as it was when it sentenced Griffin, that 120 months represents an

appropriate sentence for him on this offense. Petitioner was a major cocaine trafficker and was

adept at creating elaborate schemes to conceal funds earned from his drug transactions.

Consequently, this court denies Petitioner’s request to be resentenced under Amendment 490.




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       (b) Amendment 591

       Griffin also argues that he should be resentenced under Amendment 591. On November 1,

2001, Amendment 591 became effective and was given retroactive effect under § 1B1.10. United

States v. Smith, 88 Fed.Appx. 71 (6th Cir. 2004) (unpublished). The amendment changed U.S.S.G.

§§ 1B1.1(a), 1B1.2(a), and 2D1.2, as well as the Statutory Index’s introductory commentary. Id.

Further, the amendment resolved a circuit conflict concerning § 2D1.2 and made it clear that the

sentencing court must apply the offense guideline referenced in the Statutory Index for the statute

of conviction unless the case falls within the limited ‘stipulation’ exception set forth in § 1B1.2(a).

U.S.S.G. App. C, p. 32 (Supp.2000).

       Amendment 591 cannot be utilized to modify Griffin’s sentence. First, Griffin’s offense

level was not predicated on or enhanced pursuant to § 2D1.2, but under § 2D1.1 . See U.S. v. Wright

161 Fed.Appx. 800, (10th Cir. 2006), (holding that Amendment 591’s changes to § 2D1.2 did not

affect the defendant’s sentence, since the defendant’s was sentenced under § 2D1.1). Second,

review of the record indicates that Griffin was sentenced in accordance with the appropriate offense

guidelines. His base offense level was properly determined pursuant to U.S.S.G. §§ 2D1.1, 2K2.1

and 2S1.3. Consequently, to the extent that Petitioner’s motion to modify is based on Amendment

591 of the U.S.S.G., it is denied.




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        For the foregoing reasons,

        IT IS ORDERED that Petitioner’s Motion for Modification of the Sentence Pursuant 18

U.S.C. § 3582 is hereby DENIED.

        IT IS SO ORDERED.



DATED: September 26, 2006                                    s/Anna Diggs Taylor
                                                             ANNA DIGGS TAYLOR
                                                             UNITED STATES DISTRICT JUDGE


                                        CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of record via the Court's ECF System
to their respective email addresses or First Class U.S. mail (Lonnie L. Griffin, # 13844-039, FCC - USP #2, PO Box
1034, Coleman, FL 35521-0879) disclosed on the Notice of Electronic Filing on September 26, 2006.


                                                             s/Johnetta M. Curry-Williams
                                                             Case Manager




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